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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       HON. FLORENCE Y. PAN
                                             :
MARCOS GLEFFE                                 :      CASE NO. 21-cr-698 (FYP)
                                             :
                      Defendant.             :
                                             :

                                 STATEMENT OF OFFENSE

       Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Marcos GLEFFE, with the concurrence of his attorney, agree and stipulate to the below factual

basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties

stipulate that the United States could prove the below facts beyond a reasonable doubt:

                       The Attack at the U.S. Capitol on January 6, 2021

       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is secured

twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol include

permanent and temporary security barriers and posts manned by USCP. Only authorized people

with appropriate identification are allowed access inside the Capitol.

       On January 6, 2021, the exterior plaza of the Capitol was closed to members of the public.

       On January 6, 2021, a joint session of the United States Congress convened at the Capitol,

which is located at First Street, SE, in Washington, D.C. During the joint session, elected members

of the United States House of Representatives and the United States Senate were meeting in the

Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election, which

had taken place on Tuesday, November 3, 2020. The joint session began at approximately 1:00


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PM. Shortly thereafter, by approximately 1:30 PM, the House and Senate adjourned to separate

chambers to resolve a particular objection. Vice President Mike Pence was present and presiding,

first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President

Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

       At approximately 2:00 PM, certain individuals in the crowd forced their way through, up,

and over the barricades. Officers of the USCP were forced to retreat and the crowd advanced to

the exterior façade of the building. The crowd was not lawfully authorized to enter or remain in

the building and, prior to entering the building, no members of the crowd submitted to security

screenings or weapons checks as required by USCP officers or other authorized security officials.

       At such time, the certification proceedings were still underway, and the exterior doors and

windows of the Capitol were locked or otherwise secured. Members of the USCP attempted to

maintain order and keep the crowd from entering the Capitol; however, shortly after 2:00 PM,

individuals in the crowd forced entry into the Capitol, including by breaking windows and by

assaulting members of law enforcement, as others in the crowd encouraged and assisted those acts.

The riot resulted in substantial damage to the Capitol, requiring the expenditure of more than $1.4

million dollars for repairs.

       Shortly thereafter, at approximately 2:20 PM, members of the House of Representatives

and of the Senate, including the President of the Senate, Vice President Pence, were instructed

to—and did—evacuate the chambers. Accordingly, all proceedings of the United States Congress,



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including the joint session, were effectively suspended until shortly after 8:00 PM on January 6,

2021. In light of the dangerous circumstances caused by the unlawful entry to the Capitol—

including the danger posed by individuals who had entered the Capitol without any security

screening or weapons check—Congressional proceedings could not resume until after every

unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that the

building was secured. The proceedings resumed at approximately 8:00 PM after the building had

been secured. Vice President Pence remained in the Capitol from the time he was evacuated from

the Senate Chamber until the session resumed.

                   Gleffe’s Participation in the January 6, 2021, Capitol Riot

       The defendant, Marcos GLEFFE, lives in Elk Grove Village, Illinois. On January 5, 2021,

GLEFFE travelled to Washington, D.C., via automobile. The purpose of the defendant’s trip was

to protest Congress’ certification of the Electoral College.

       Prior to January 6, on January 5, 2021, the defendant published a post to his Facebook

account. The post stated, “If anyone would like to watch the livestream of the DC event tomorrow.

Go to Parler and search @fightthefraud Share away!!”

       On January 6, the defendant attended the “Stop the Steal” rally and then marched with

other protestors to the Capitol. While at the “Stop the Steal” rally, the defendant heard a mob of

rioters stating that they were “storming the Capitol.” The defendant decided to follow the crowd

to the Capitol. The defendant made his way past barricades, some of which were knocked down

as he approached the Capitol. He also smelled tear gas as he approached the Capitol.

       At about 2:00 p.m., the defendant was a part of the mob that had gathered on the Lower

West Terrace.     The defendant walked to an entrance near the Senate Wing Doors.              At

approximately 2:19 p.m., the defendant entered the Capitol. The defendant remained inside of the



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Capitol for approximately ten minutes before exiting through the door that he entered near the

Senate Wing Doors.



                                      Elements of the Offense

       Marcos GLEFFE knowingly and voluntarily admits to all the elements of Title 40, United

States Code, Section 5104(e)(2)(G). Specifically, the defendant admits that he willfully and

knowingly entered the U.S. Capitol Building knowing that that he/she did not have permission to

do so. Defendant further admits that while inside the Capitol, defendant willfully and knowingly

paraded, demonstrated, or picketed.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052

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August 30, 2022
